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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 X-HONG INTERNATIONAL GROUP, INC.

                                                         Case No. 1:22-CV-3458-NG-CLP
                                      Plaintiff,

                       v.                                PROTECTIVE ORDER

                                                         Judge Nina Gershon
 TODAY SHIPPING INC., SHANTOU ZIAHONG
 TOYS CO., LTD., CHUANGXIA CAI aka SHAUN                 Magistrate Judge Cheryl L. Pollak
 CAI, AND “JOHN DOES” 1-5,
                            Defendants.


The Court enters the following Protective Order governing the disclosure of
confidential Discovery Material by a Producing Party to a Receiving Party in this Action.

1.      Definitions. As used in this Order:

       a.     “Action” refers to the above-captioned litigation.
       b.      “Discovery Material” includes all information exchanged between the
       parties, whether gathered through informal requests or communications between the
       parties or their counsel or gathered through formal discovery conducted pursuant to
       the Federal Rules of Civil Procedure (“Rule” or “Rules”) 30 through 36 and 45.
       Discovery Material includes information within documents, depositions, deposition
       exhibits, and other written, recorded, computerized, electronic or graphic matter,
       copies, and excerpts or summaries of documents disclosed as required under Rule
       26(a).

       c.      A “Producing Party” is a party to this litigation, or a non-party either acting
       on a party’s behalf or responding to discovery pursuant to a Rule 45 subpoena,
       that produces Discovery Material in this Action.

       d.     A “Receiving Party” is a party to this litigation that receives Discovery
       Material from a Producing Party in this Action.

2.      Confidential Discovery Material. This Protective Order applies to all
confidential Discovery Material produced or obtained in this case. For the purposes of this
Protective Order, confidential Discovery Material shall include:

       a.      Commercial information relating to any party’s business including, but not
       limited to, tax data, financial information, financial or business plans or projections,
       proposed strategic transactions or other business combinations, internal audit
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       practices, procedures, and outcomes, trade secrets or other commercially sensitive
       business or technical information, proprietary business and marketing plans and
       strategies, studies or analyses by internal or outside experts, competitive analyses,
       customer or prospective customer lists and information, profit/loss information, product
       or service pricing or billing agreements or guidelines, and/or confidential project-related
       information;

       b.     Personnel data of the parties or their employees, including but not limited to,
       information regarding employment applications; employment references; wages and
       income; benefits; employee evaluations; medical evaluation and treatment and related
       records; counseling or mental health records; educational records; and employment
       counseling, discipline, or performance improvement documentation;

       c.      Information concerning settlement discussions and mediation, including demands
       or offers, arising from a dispute between a party and a non-party;

       d.     Medical or mental health information;

       e.     Records restricted or prohibited from disclosure by statute; and

       f.      Any information copied or extracted from the previously described materials,
       including all excerpts, summaries, or compilations of this information or testimony, and
       documentation of questioning, statements, conversations, or presentations that might
       reveal the information contained within the underlying confidential Discovery Material.

3.   Manner of Confidential Designation. A Producing Party shall affix a
“CONFIDENTIAL” designation to any confidential Discovery Material produced in this Action.

      a.     For documentary information (defined to include paper or electronic documents,
      but not transcripts of depositions or other pretrial or trial proceedings), the Producing
      Party must affix the legend “CONFIDENTIAL” to each page that contains protected
      material.

      b.      If only a portion or portions of the information on a document page qualifies for
      protection, the Producing Party must clearly identify the protected portion(s) (e.g., by
      using highlighting, underlining, or appropriate markings in the margins).

      c.     If it is not feasible to label confidential Discovery Material as
      “CONFIDENTIAL,” the Producing Party shall indicate via cover letter or otherwise at
      the time of production that the material being produced is confidential.

      d.      At the time of a deposition or within 10 days after receipt of the deposition
      transcript, a party may designate as confidential specific portions of the transcript which
      contain confidential matters under the standards set forth in Section 2 above. This
      designation shall be in writing and served upon all counsel. No objection shall be
      interposed at deposition that an answer would elicit confidential information. Transcripts


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      will be treated as confidential for this 10-day period. Any portions of a transcript
      designated confidential shall thereafter be treated as confidential in accordance with this
      Order. The confidential portion of the transcript and any exhibits referenced solely therein
      shall be bound in a separate volume and marked “CONFIDENTIAL” by the reporter.

 4.    Timing of Confidential Designation.

      a.      Except as otherwise stipulated or ordered, or where discovery is made available
      for inspection before it is formally disclosed, Discovery Material that qualifies for
      protection under this Order must be clearly so designated before the material is disclosed
      or produced.

      b.      If the Producing Party responds to discovery by making Discovery Material
      available for inspection, the Producing Party need not affix confidential designations until
      after the Receiving Party has selected the material it wants to receive. During the
      inspection and before the designation, all material made available for inspection is
      deemed confidential. After the Receiving Party has identified the Discovery Material it
      wants produced, the Producing Party must determine which materials, or portions thereof,
      qualify for protection under this Order, and designate the materials as
      “CONFIDENTIAL” as required under this order.

 5.    Qualified Recipients. For the purposes of this Protective Order, the persons authorized
       to receive confidential Discovery Material (hereinafter “Qualified Recipient”) are:
      a.       The Parties, including any members, council members, officers, board members,
      directors, employees, or other legal representatives of the parties;
      b.       Legal counsel representing the parties, and members of the paralegal, secretarial,
      or clerical staff who are employed by, retained by, or assisting such counsel; including
      vendors who are retained to copy documents or electronic files, provide technical,
      litigation support, or mock trial services, or provide messenger or other
      administrative support services;
      c.       Any non-expert witness during any deposition or other proceeding in this Action,
      and counsel for that witness;
      d.       Potential witnesses and their counsel, but only to the extent reasonably related to
      the anticipated subject matter of the potential witness’s deposition, trial, or hearing
      testimony for this Action;
      e.       Consulting or testifying expert witnesses who will be providing professional
      opinions or assistance for this Action based upon a review of the confidential information,
      and the staff and assistants employed by the consulting or testifying experts;
      f.       Any mediator or arbitrator retained by the parties to assist with resolving and/or
      settling the claims of this Action and members of the arbitrator’s or mediator’s staff and
      assistants;
      g.       The parties’ insurers for this Action, and their staff and assistants, members,
      officers, board members, directors or other legal representatives;
      h.       Court reporters for depositions taken in this Action, including persons operating
      video recording equipment and persons preparing transcript of testimony.




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       i.      The Court and its staff, any court reporter or typist recording or
       transcribing
       hearings and testimony, and jurors; and
       j.      Any auditor or regulator of a party entitled to review the confidential
       Discovery Material due to contractual rights or obligations, or federal or state laws,
       or court orders, but solely for such contractual or legal purposes.

6.     Dissemination by the Receiving Party.

       a.      Before receiving confidential Discovery Material, each Qualified Recipient who
       is not included in Sections 5(a) and (b) above, shall: (i) review and agree to the terms
       of this Protective Order and (ii) execute a copy of the Agreement attached hereto as
       Exhibit A.
       b.      The prohibition on disclosing information designated as “CONFIDENTIAL”
       exists and is enforceable by the Court even if the person receiving the information fails
       or refuses to sign the Exhibit A Agreement.

7.     Limitations on Use. Discovery Material designated as “CONFIDENTIAL” shall be held
in confidence by each Qualified Recipient to whom it is disclosed, shall be used only for
purposes of this action, and shall not be disclosed to any person who is not a Qualified
Recipient. Nothing herein prevents disclosure beyond the terms of this Protective Order if the
party claiming confidentiality consents in writing to such disclosure.

8.     Docket Filings. A party seeking to file documents containing confidential Discovery
Material under seal must comply with the Court’s rules and electronic docketing procedures for
filing motions for leave to file under seal.

9.     Challenges to Confidentiality Designations. A Receiving Party that questions
the Producing Party’s confidentiality designation will, as an initial step, contact the Producing
Party and confer in good faith to resolve the dispute. If the parties are unable to resolve the
dispute without court intervention, they shall apply to the Court for a determination as to
whether the designation is appropriate. The party that designated as “CONFIDENTIAL” bears
the burden of proving it was properly designated. The party challenging a
“CONFIDENTIAL” designation must obtain a court order before disseminating the
information to anyone other than Qualified Recipients.

10. Use at Court Hearings and Trial. Subject to the Federal Rules of Evidence, Discovery
Material designated as “CONFIDENTIAL” may be offered and received into evidence at trial
or at any hearing or oral argument. A party agreeing to the entry of this order does not thereby
waive the right to object to the admissibility of the material in any proceeding, including
trial. Any party may move the Court for an order that Discovery Material designated as
“CONFIDENTIAL” be reviewed in camera or under other conditions to prevent unnecessary
disclosure.

11. Return or Destruction of Documents. Upon final termination of this Action, including
all appeals, each party shall make reasonable efforts to destroy all Discovery Material
designated as “CONFIDENTIAL.” The destroying party shall notify the producing party when


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destruction under this provision is complete. If a party is unable to destroy all Discovery Material
designated as “CONFIDENTIAL,” that material shall be returned to the Producing Party or the
Producing Party’s counsel. This Protective Order shall survive the final termination of this action,
and it shall be binding on the parties and their legal counsel in the future.

12. Modification. This Protective Order is entered without prejudice to the right of any party
to ask the Court to order additional protective provisions, or to modify, relax or rescind any
restrictions imposed by this Protective Order. Disclosure other than as provided for herein shall
require the prior written consent of the Producing Party, or a supplemental Protective Order of
the Court.

13. Additional Parties to Litigation. In the event additional parties are joined in this action,
they shall not have access to Discovery Material as “CONFIDENTIAL” until the newly joined
party, by its counsel, has executed and, at the request of any party, filed with the Court, its
agreement to be fully bound by this Protective Order.

14. Inadvertent Disclosure of Protected Discovery Material. The inadvertent,
unintentional, or in camera disclosure of a confidential document and information shall not
generally be deemed a waiver, in whole or in part, of any party’s claims of confidentiality. If at
any time prior to trial, a producing party realizes that some portion(s) of the discovery material
that the party produced should be designated as confidential, the party may so designate by
apprising all parties in writing, and providing that the material has not already been published or
otherwise disclosed, such portion(s) shall thereafter be treated as confidential under this Order.

15. Jurisdiction. This Court shall retain jurisdiction over all persons subject to this Order to
the extent necessary to enforce any obligations arising hereunder.


________________________________                 ___________ ____________________
Attorney for Defendants                          Attorney for Plaintiff
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Dated: 03/24/2023                                Dated:



                                                      SO ORDERED:
Dated: 4/4/2023
                                                      __________________________
                                                      United States Magistrate Judge




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 X-HONG INTERNATIONAL GROUP, INC.

                                                          Case No. 1:22-CV-3458-NG-CLP
                                      Plaintiff,

                       v.                                 EXHIBIT A

                                                          Judge Nina Gershon
 TODAY SHIPPING INC., SHANTOU ZIAHONG
 TOYS CO., LTD., CHUANGXIA CAI aka SHAUN                  Magistrate Judge Cheryl L. Pollak
 CAI, AND “JOHN DOES” 1-5,
                            Defendants.




I hereby acknowledge that I am about to receive Confidential Information supplied in
connection with the above-captioned case. I understand that such information is being provided
to me pursuant to the terms and restrictions of the Protective Order entered in this case. I have
been given a copy of the Protective Order, have read the Protective Order, and agree to be
bound by its terms. I understand that Confidential Information as defined in the Protective
Order, or any notes or other records that may be made regarding any such materials, shall not be
disclosed to any persons except as permitted by the Protective Order.



_______________________                                     ____________________________
Printed Name                                                Signature




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